 

Case: 1:17-cv-02025 Document #: 68-2 Filed: 02/28/18 Page 1 of 8 PagelD #:691

EXHIBIT B
 

Case: 1:17-cv-02025 Document #: 68-2 Filed: 02/28/18 Page 2 of 8 PagelD #:691
02/21/2017 3:03 PM FAX 7733849091+ (0001/0007

Home equity line of credit

® PN CBANK Account # MXKK KKK POOKK 0050

 

“ eee Statement closing date 10/02/16
LORI A WIGOD, visit pne.com to take advantage of our free e eit ease yanentt $229,446.88
online bill payment service to ensure your monthly payment @ ue date 40/27/16
arrives on time, avoid late fees and maintain your good
credit rating. can a Questions?

pnic.com
1-877-526-3603

 

 

 

 

 

 

 

 

 

 

 

 

Previous balance $229,446.89 Total credit limit $228,976.00
Payment received on 09/30/16 - thank you $712.78 Total available credit $0.00
Purchases $0.00
Advances $0.00
Bank paid faas/taxes $0.00
Late and overlimnit fees sess veces $0.00
i Finance charges $712.78
‘ Credits . . $0.00
New balance $229,446,89
© Minimum payment $712.78
@ Que date - 10/27/16

 

 

 
   
   

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ss ctlons eee se oe
POST DATE REFERENCE NUMBER DESCRIPTION
09730 7448960M2$Q 1 AZROY PAYMENT*THANK YOU LOUISVILLE KY 5712.78
yo/o2 WEINANCE CHARGE* 712.78
Si76 $962 HHH oa 7 1 iGigeg 6 Enpact i of § 16 4266 6100 1878 SASL 7OCE , SORG0
| LT ce en see car eminem mmm mma mamamameame mara a me FS ‘yo ly SU Sy itn amm ss seen He (Rane ne IE REE RAR AE ali Ae RTM AIS IA Beh a]
PNC BANK Account # XXXK XXKK XXKK 0050
QP NC New balance 5229,446,89
@ oue date 10/27/16
- PAYMENT ENCLOSED
GUAT LADALAAOOSONO22 I YLAIOONON Le 7aOOOHO Le 7ob $
LORI A WIGOD 49580
. 1735 N PAULINA ST APT 601 ane
Make check payable to: , CHICAGO IL, 60622-1195
PNC BANK
PO BOX 856177 i illite
LOUISVILLE KY 40285-6177 anelENfyegDalahaanl Udevnendade ta EAE AL gees fatal

goggles ype fongeteldfe hemp et baad ete da lena

wh igo e@SQ00wOOsOn 96483¢,280050" O04
 

Case: 1:17-cv-02025 Document #: 68-2 Filed: 02/28/18 Page 3 of 8 PagelD #:691

é : } . 732 9 a2 ,
02/21/2017 3:04 PM FAX 7733949091+ Account # A900 0007
@ PNCBANK Statement closing date 1/2/16

 

 
   

 

 

 

CORRESPONDING = MONTHLY

ANNUAL PERIODIC AVERAGE
TYPE OF PERCENTAGE RATE DAILY FINANCE
BALANCE RATE (APR) (MAY VAIY) BALANCE CHARGE
Purchases 9.780% 0.313% 50,00 $0.00
Advances 3.750% 0.213% $227,725.30 $712.78

Blended APR: 3.75%
Days in billing cycla: 30

° Important information - please read
, Your account is currently closed.

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Case: 1:17-cv-02025 Document #: 68-2 Filed: 02/28/18 Page 4 of 8 PagelD #:691
02/21/2017 3:04 PM FAX 7733849001+ (2 0003/0007
Home equity line of credit

® PNC BANK | Account # KXKK KXKK KKK 0050

Staternent closing date 11/02/16

New balance $230,159.67
© Total minimum payment due $1,425.56
@ due date 11/27/16

Questions?

pne.com

1-866-622-2657

 

 

 

 

 

 

 

 

 

Previous Palance 22a Total credit limit $228,976.00
ayment receive 9.00 Total available credi
Purchases $0.00 o ilable credit $0.00
Advances $0.00
Bank paid fees/taxcs $0.00
Late and overlimit fees $0.00
Finance charges $712.78
__ edits 10.00
New balance $230,159.67
Past due amount - due now $712.78
Current minimum payment $712.78
@ ‘Total minimum payment due $1,425.56
@ bue date 127/16

 

 

 

 

 

 

 

TRANS DATE POST DATE REFERENCE NUMBER DESCRIPTION AMOUNT
W142 31/02 *FINANTE CHARGE* $742.78
S170 060 BRO HH 01 7 } 1611302 4 EXPAGE 1 04 & 10 4264 6100 LS76 BARI TICE 50362
PP I Account # XXXK XXXK XXXK 0N50
e Oxs iC BANK New balance $230,159.67
CLEVELAND OH 44101-0570 © Total minimum payment due $1,625.56
@ due date 11/27/16
PAYMENT ENCLOSED
YUSSbLSaAgLeaOOSOO02 ILS 9b 7000007227 a0000L4eS She $
LORI A WIGOD sosez
41735 N PAULINA ST APT 604 end
Make check payable to: CHICAGO IL 60622-1195
PNC BANK
PO BOX 856177

LOUISVILLE KY 40285-6177 fighelyeDMprasengel ggg EU fgg progeny tf lorpsng|toseyl ad] [ Ulf sap]
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Law eSO00eO080 96689 e. 280050" OO4
 

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02/21/2017 3:05 PM FAX 7733849091+ Zyg04 0007
Account ¢ HARK ARAM GUS
@ PNCBANK . Statement closing date 1IOZ/NG

 

 

 

 

 

 

CORRESPONDING = MONTHLY

ANNUAL PERIODIC AVERAGE
TYPE OF PERCENTAGE RATE DAILY FINANCE
BALANCE RATE (APR) (MAY VARY} BALANCE CHARGE
Purchases 3.750% 0.313% $0.00 $0.00
Advantas 3.780% O.313% $227,725.30 $712.78

Blended APR: 3.75%
Days in billing cycle: 34

e important information - please read

Your account is currently closed.

 

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Siva 60002 HHH eon oF 2 16)203 0 EKPAGE Z af %

18 6264 Gi0G LE7h GAEL 78er

SOS82
 

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Case: 1:17-cv-02025 Document #:
02/21/2017 3:05 PM FAX 77338490914

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gs (2 0005/0007

Home equity line of credit

Account # XXXK XXXK XKKXK 0050

Statement closing date 12/02/16

New balance $236,158.67
@ Total minimum payment due $1,425.56
@ due date 42/27/16

Questions?

pnc.com

4-866-622-2657

 

 

   
 

 

 

Previous balance
Payment received an 11/04/16 ~ thank you
Purchases

Advances
Bank paid feas/taxes
Late and overlimit fees
Finance charges
Credits

New balance

Past due amount - due now
Current minimum payment

@ Total minimum payment due
® ue date

$230,159.67
$712.78
$0.00

$6.00

$0.00

$0.00
$712.78

$0.00
$230,159.67
$712.78
$712.78
$1,425.56
12/27/16

Total cradit limit
Total available credit

$228,976.00

$0.00

 

 

 

 

  

 

 

 

 

 

 

TRANS DATE POST DATE REFERENCE NUMBER DESCRIPTION AMOUNT
11/04 11404 7A4B960N55O 1 ALTSS PAYMENT* THANK YOU LOUISVILLE KY $712.78
42102 202 *FINANCE CHARGE* 712.78
S17) | «8bOz RH gon oF 4 1eiZee 6 EXPAGE 2 oF 3 10 4264 8100 LS70 GASLTOCE 67891
PN NK Account # XMKX XXXX XXKX OOSO
@ Ox NCBAI New balance $230,159.67
CLEVELAND GH 44101-0576 @ ‘Total minimum payment due $1,425.56
@ Due date 12/27/16
PAYMENT ENCLOSED
4 AI DARALZSUOSOOIZIOASAE 7OOOOO7 Le vaAgoodobseSSbe $
LORI A WIGOD quan
1735 N PAULINA ST APT 601 ae
Make check payable to: CHICAGO IL 60622-1195
PNC BANK
PQ BOX 856177

PO BOX 856177 os e177 mot yea ado tga

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HSOOOwOOSON FBa’hae2a28oosOw OO’
 

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02/21/2017 3:05 PM FAX 7733849091+ 2 0008 / 0007
Acegurit # XXKK XXXX XXXX OOFO
@ PNCBANK Statement closing date 1202/16

 
  

 

 

 

 

CORRESPONDING = MONTHLY

ANNUAL PERIODIC AVERAGE
‘TYPE OF PERCENTAGE RATE DAILY FINANCE
BALANCE RATE (APR) (MAY VARY) BALANCE CHARGE
Purchases 3.750% 0.313% $0.00 $9.00
Advances 3.750% 0.313% $227,725.30 $712.78

Blanded APR: 3.75%
Qays in billing cycle: 30

e Important information - please read

Your account is currently closed,

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Case: 1:17-cv-02025 Document #: 68-2 Filed: 02/28/18 Page 8 of 8 PagelD #:691
02/21/2017 3:06 PM FAX 7733849091+ . 2] 0007/0007

© PNCBANK

PNG Bank, Natlonail Association
PS-PCLO-ATEN

2730 Liberty Avenue
Pittsburgh, PA 15222

Lorl A Wiged
1735 N Paulina St Apt 604
Chicago, Il, 60622-11595

Date: December 7, 2016
Account Number: 4489-6183-2128-0050 (‘Account’)

Dear Lor A Wiged:

As of today, your account Is past due in the amount of $712.78. If you have already sent your payment, please
accept our thanks and disregard this letter.

if unexpected circumstances have prevented you from making the payment, we may be able to help. Even if
you plan to make a payment soon, it still makes sense to talk fo us. We are eager to work with you to bring
your account up to date and to avoid further collection activity.

Please call us at 800-642-6323 to pay by phone or discuss your current situation. You may also visit us at
pnic.com/options where you can make gn online payment, review customized payment options that may be
available to you, or even set up an appointment to speak directly with a PNC Bank advisor.

We lagk forward to speaking with you. - mee Ges von

Sincorcly,

ror Bank, NA,
Agcount Specialist

Notice: Sae Reverse Slde for Important Information
